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8

9                                 UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
10

11                                                 )   Case No.: CV-98-8493-SVW (MLG)
     MOHAMMAD A. SALAMEH,                          )
12                                                 )
                    Plaintiff,                     )   PLAINTIFF MOHAMMAD
13                                                 )   SALAMEH‟S TRIAL BRIEF
            v.                                     )
14                                                 )
     PETER CARLSON, et al.,                        )   TRIAL: JANUARY 8, 2008, 9 A.M.
15                                                 )
                    Defendants.                    )
16
            Pursuant to Local Rule 16-10©, Plaintiff Mohammad A. Salameh responds to the
17

18   legal arguments in Defendant‟s September 10, 2007, Memorandum of Contentions of

19   Fact and Law. In his Memorandum, Defendant implicitly argues that Defendant did not
20
     use excessive force—but if Defendant did use excessive force, Defendant did not do so
21
     maliciously and sadistically. (Def.‟s Mem. of Contentions of Fact and Law 5:20-6:4.)
22

23
     Next, Defendant expressly argues that even if he did use excessive force maliciously and

24   sadistically, he is entitled to qualified immunity. (Id. at 13:1-3.)
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            In the prison context, Eighth Amendment is violated by “the use of official force
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2    or authority that is „intentional, unjustified, brutal, and offensive to human dignity.‟ ”

3    Felix v. McCarthy, 939 F.2d 699, 701 (9th Cir. 1991) (citing Meredith v. Arizona, 523
4
     F.2d 481 (9th Cir. 1975)). Defendant used his position of authority—under the cloak of
5
     anonymity of the SORT team—to “intentionally and gratuitously” degrade Plaintiff‟s
6

7    dignity. Id. Because the contours of Plaintiff‟s rights were clearly established on June

8    17, 1998, Defendant is not entitled to qualified immunity.
9
                           I.     Eighth Amendment—Excessive Force
10
            In an inmate‟s excessive force claim, “the core judicial inquiry is . . . whether
11
     force was applied in a good-faith effort to maintain or restore discipline, or maliciously
12

13   and sadistically to cause harm.” Hudson v. McMillian, 503 U.S. 1, 6-7, 112 S. Ct. 995,

14   117 L. Ed. 2d 156 (1992). It is uncontested that Plaintiff remained compliant,
15
     cooperative, cuffed, and in the custody of the SORT team during his entire transfer.
16
     Under these circumstances, the Eighth Amendment clearly prohibits the “unnecessary
17

18   and wanton infliction of pain” on an inmate. Whitley v. Albers, 475 U.S. 312, 319, 106

19   S. Ct. 1078, 89 L. Ed. 2d 251 (1986).
20
            The Hudson court enumerated factors that “may be proper to evaluate” in
21
     determining whether the use of force in a particular situation was “wanton and
22
     unnecessary.” Hudson, 510 U.S. at 6-7. These factors include (1) the need for the
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24   application of force; (2) the threat reasonably perceived by reasonable officials; (3) the

25   relationship between the need for force and the force used; (4) whether any efforts were
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     made to temper the severity of a forceful response; and (5) the nature and extent of the
1

2    plaintiff‟s injuries. Id.

3            Under Hudson, the deference due to prison officials charged with the difficult
4
     task of maintaining order at penal institutions must be considered. Plaintiff
5
     acknowledges that USP Lompoc officials acted reasonably in ordering Plaintiff‟s
6

7    transfer to the SHU based on the reports of imminent violence at the institution—and

8    that it was reasonable to use the SORT team to transfer Plaintiff. However, Plaintiff
9
     remained cooperative and compliant through out his transfer to the SHU. There were no
10
     exigent circumstances requiring Defendant to use force to maintain or restore order
11
     and/or institutional security. There being no need to use force, the relationship between
12

13   the need for force and the amount of force use are not relevant to the analysis in this

14   case.
15
             No reasonable officer in the Defendant‟s position, dressed in full protective gear
16
     and accompanied by the SORT team, would feel threatened by a compliant inmate who
17

18   was cuffed with his hands behind his back. Defendant made no effort to temper his

19   forceful response, even after Plaintiff complained to Lieutenant Garcia about the tight
20
     handcuffs in the strip-search area. Defendant would have seen the very red marks
21
     around Plaintiff‟s wrists when Plaintiff‟s cuffs were removed for the strip-search, yet
22
     Defendant once again applied the cuffs in an excessively tight manner after the strip-
23

24   search. Defendant also would have noted during the strip-search that Plaintiff was

25   shaking from the pain of being carried in the “chicken move.” Nevertheless, Defendant
26
     proceeded to carry Plaintiff in the exact same manner after Plaintiff‟s strip-search.


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     Defendant further injured Plaintiff by banging and slamming Plaintiff into the gates,
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2    grilles, and doorways of the interior of the SHU, and stepped on Plaintiff‟s bare feet with

3    his heavy boots.
4
            In Hudson, the Court noted that “[t]he absence of serious injury is . . . relevant to
5
     the Eighth Amendment inquiry, but does not end it.” Hudson, 510 U.S. at 6. Plaintiff‟s
6

7    injuries were not life-threatening—but Plaintiff was injured. Although Defendant

8    attempts to characterize Plaintiff‟s injuries as insignificant, Plaintiff suffered more than
9
     just the usual discomfort associated with being cuffed. On two separate occasions,
10
     Defendant excessively tightened the handcuffs around Plaintiff‟s wrists, Defendant
11
     placed his hand under Plaintiff‟s armpit, and forced Plaintiff‟s arms way up behind
12

13   Plaintiff‟s back. With the assistance of another SORT team member, Defendant carried

14   Plaintiff in this painful “chicken move” position from Plaintiff‟s cell in M Unit in the
15
     general population to I Unit in the SHU. Defendant stepped on Plaintiff‟s bare feet and
16
     banged and slammed Plaintiff into the gates, grilles, and doorways of the interior of the
17

18   SHU, causing cuts to Plaintiff‟s face and chin, and painful swelling and bruising around

19   Plaintiff‟s right eye.
20
             II.     Defendant Acted Maliciously and Sadistically To Cause Harm
21
            Defendant‟s malicious and sadistic intent can be inferred from the fact that
22
     Defendant applied the handcuffs in an excessively tight manner not once, but twice.
23

24   When Plaintiff arrived at the area designated for his strip-search, Plaintiff asked

25   Lieutenant Garcia to remove the handcuffs, because they were too tight. Once the
26
     handcuffs were removed, Plaintiff‟s wrists bore witness to the excessive tightness of the


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     cuffs because both of Plaintiff‟s wrists had deep, very red marks around them.
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2    Nonetheless, after the strip-search Defendant once again applied the cuffs in an

3    excessively tight manner.
4
            Defendant‟s malicious intent can also be inferred from the manner in which he
5
     carried Plaintiff through the interior of the SHU, heedless of the pain he was inflicting on
6

7    Plaintiff. Plaintiff will testify that Defendant and the other SORT team members acted

8    as if they enjoyed abusing Plaintiff. As Plaintiff was carried up the staircase to the third
9
     floor of I Unit, one of the SORT team members laughed and said, “This is more fun than
10
     Desert Storm.” This statement by one of Defendant‟s fellow SORT team members is
11
     admissible as an admission by a party-opponent under Federal Rules of Evidence
12

13   801(d)(2)(E). There is sufficient evidence to support a finding that the members of

14   SORT team acted as joint-venturers. After all, this was a SORT team—not a random
15
     assemblage of individual officers. The entire team was dressed in full protective gear,
16
     including helmets and visors, providing anonymity for the individual officers and
17

18   precluding Plaintiff‟s identification of any of the SORT team members except the

19   Defendant and Lieutenant Garcia.
20
            Furthermore, the unlawful nature of Plaintiff‟s strip-search under BOP regulations
21
     should have been obvious to the whole SORT team. The regulations clearly permit
22
     visual searches, including a visual inspection of all body surfaces and body cavities,
23

24   when there is reasonable belief that contraband may be concealed, or when an inmate

25   has had a good opportunity to conceal contraband. 28 CFR § 552.11(b)(1) (1998) (45
26
     Fed. Reg. 75134, Nov. 13, 1980, as amended at 48 Fed. Reg. 48970, Oct. 21, 1983; 56


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     Fed. Reg. 21036, May 6, 1991). Placement in a Special Housing Unit is specifically
1

2    mentioned as an example of an occasion calling for a visual search. However, the

3    regulations also state that when a visual search is necessary, the “visual search shall be
4
     made in a manner designed to assure as much privacy to the inmate as possible.” Id.
5
     Plaintiff‟s visual search, conducted as it was in the presence of approximately one dozen
6

7    officers, was designed to humiliate and degrade Plaintiff.

8                   III.   Defendant Is Not Entitled to Qualified Immunity
9
            Defendant contends that even if his conduct violated Plaintiff‟s Eighth
10
     Amendment rights, he is entitled to the affirmative defense of qualified immunity. In
11
     Saucier v. Katz, 533 U.S. 194, 121 S. Ct. 2151, 150 L. Ed. 2d 272 (2001), the U.S.
12

13   Supreme Court established a two-step inquiry for assessing whether qualified immunity

14   applies. In the first step, the Court must determine whether the facts show the
15
     Defendant‟s conduct “violated a constitutional right.” Id. at 201. In the second step, the
16
     Court must determine whether the constitutional right was “clearly established.” Id.
17

18   Because Defendant violated Plaintiff‟s Eighth Amendment rights—therefore, the only

19   remaining question is whether or not Plaintiff‟s rights were clearly established on June
20
     17, 1998.
21
            In the Ninth Circuit, a reasonable correctional officer has been on notice since
22
     1991 that an “unprovoked and unjustified attack by a prison guard” violates an inmate‟s
23

24   clearly established constitutional rights. Felix v. McCarthy, 939 F.2d 699, 701-02 (9th

25   Cir. 1991). In Felix, the Ninth Circuit held that the defendant prison guards unprovoked
26
     pushing and hurling of a cuffed and compliant inmate against a wall, and the use of their


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     authority to “intentionally and gratuitously” degrade an inmate‟s dignity violated the
1

2    Eighth Amendment.

3           Futhermore, BOP regulations in effect in 1998 expressly proscribed Defendant‟s
4
     conduct. The regulations authorized the use of handcuffs as precautionary restraints in
5
     the movement and transfer of inmates, including while escorting an inmate to a Special
6

7    Housing Unit pending investigation. 28 C.F.R. § 552.20 (1998) (59 Fed. Reg. 30469,

8    June 13, 1994, as amended at 61 Fed. Reg. 39800, July 30, 1996). However, the
9
     regulations expressly stated that restraint equipment, including handcuffs, may not be
10
     used “[i]n a manner that causes unnecessary physical pain or extreme discomfort.” 28
11
     C.F.R. § 552.22(h)(3) (1998) (54 Fed. Reg. 21394, May 17, 1989. Redesignated and
12

13   amended at 59 Fed. Reg. 30469, 30470, June 13, 1994; 61 Fed. Reg. 39800, July 30,

14   1996). Defendant caused Plaintiff to suffer unnecessary physical pain and extreme
15
     discomfort.
16
            Defendant‟s reliance on the U.S. Supreme Court decision in Brosseau v. Hagen,
17

18   543 U.S. 194, 125 S. Ct. 596, 160 L. E. 2d 583 (2004) is misplaced. Defendant‟s

19   malicious and sadistic use of excessive force against Plaintiff does not fall within the
20
     “hazy border between excessive and acceptable force.” Id. at 201 (citations omitted).
21
     Nor is Defendant entitled to qualified immunity because he “reasonably
22
     misapprehend[ed] the law governing the circumstances [he] confronted.” Id. at 198.
23

24   Brosseau involved a police officer‟s use of potentially deadly force in a volatile situation

25   on the street—not the use of excessive force on a cuffed and compliant inmate. Plaintiff
26
     Hagen, a suspect who was shot in the back while fleeing from officer Brosseau,


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     subsequently brought a § 1983 claim against Brosseau for excessive force. The
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2    constitutional question in Brosseau was governed by the principles established in

3    Tennessee v. Garner, 471 U.S. 1, 105 S. Ct. 1694, 85 L. Ed. 2d 1 (1985) and Graham v.
4
     Connor, 460 U.S. 386, 109 S. Ct. 1865, 104 L. Ed. 2d 443 (1989) for claims of excessive
5
     force under the Fourth Amendments „objective reasonableness‟ standard. Brosseau,
6

7    U.S. 543 at 197. Thus, Brosseau cannot support Defendant‟s qualified immunity claim.

8                 IV.    Plaintiff Is Entitled To An Award Of Attorney’s Fees
9
            Plaintiff is entitled to an award of attorney‟s fees “directly and reasonably
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     incurred in proving an actual violation of [his] rights.” 42 U.S.C. § 1997e(d)(1)(A). The
11
     Court may order that up to 25% of Plaintiff‟s monetary judgment be used to satisfy the
12

13   attorney‟s fees claim. Id. at e(d)(2). Defendant cannot be order to pay fees in excess of

14   150% of the monetary judgment. (Id.) The hourly rate used to calculate Plaintiff‟s
15
     attorney‟s fees award may not exceed 150% of the Criminal Justice Act rates established
16
     under 18 U.S.C. § 3006A. Id. at e(d)(3).
17

18          DATED:        This 2nd day of January, 2008.
19
                                        Respectfully Submitted,
20                                      s/Joyce Ellen Rosendahl
21
                                        Joyce Ellen Rosendahl
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2
                                 CERTIFICATE OF SERVICE
3
     I HEREBY CERTIFY that on this 2nd day of January, 2008, I electronically filed the
4

5    foregoing PLAINTIFF’S MOHAMMAD A. SALAMEH’S TRIAL BRIEF with the Clerk of the

6    United States District Court for the Central District of California using the CM/ECF
7
     system which will send notification of such filing to Katherine M. Hikida, Assistant
8
     United States Attorney, at the following email address: katherine.hikida@usdoj.gov.
9

10
                                                     s/Joyce Ellen Rosendahl
11

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